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   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK


   IN RE PAYMENT CARD INTERCHANGE FEE
   AND MERCHANT DISCOUNT ANTITRUST
   LITIGATION
                                                                 Case No. 1:05-md-1720 (MKB) (VMS)

   This Document Relates to:
                                                                 ORAL ARGUMENT REQUESTED
   Grubhub Holdings Inc., et al. v. Visa Inc., et al.,
   No. 19-cv-06555 (E.D.N.Y.) (MKB) (VMS).




                  DEFENDANTS’ NOTICE OF MOTION FOR SUMMARY JUDGMENT

          PLEASE TAKE NOTICE that, upon the accompanying Declaration of Jayme Jonat, and

   exhibits attached thereto; Defendants’ Statement of Material Facts as to Which There Is No Genuine

   Issue to Be Tried; Defendants’ Memorandum of Law in Support of Their Motion for Summary

   Judgment Under Ohio v. American Express; Defendants’ Memorandum of Law in Support of Their

   Motion for Summary Judgment on Plaintiffs’ Post-IPO Conspiracy Claims; Defendants’

   Memorandum of Law in Support of Their Motion for Summary Judgment on Plaintiffs’ Damages

   Claims Under Federal Antitrust Laws Based on Illinois Brick Co. v. Illinois; and Mastercard’s

   Memorandum of Law in Support of Its Motion for Summary Judgment Based on Mastercard’s Lack

   of Market Power, the undersigned, as set forth in the signature pages of the foregoing memoranda,

   will move this Court on a date and time to be designated by the Court, in the United States

   Courthouse, 225 Cadman Plaza East, Brooklyn, NY 11201–1818 for an Order pursuant to Fed. R.

   Civ. P. 56 for summary judgment in their favor on all claims made against them, dismissing

   Plaintiffs’ complaint against them in its entirety, and for such other further relief as the Court deems

   just and proper.

          PLEASE TAKE FURTHER NOTICE that Defendants request oral argument of this motion.
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    Dated: July 14, 2023                 Respectfully submitted,

                                         PAUL, WEISS, RIFKIND, WHARTON &
                                         GARRISON LLP

                                         /s/ Gary R. Carney
                                         Brette Tannenbaum
                                         Gary R. Carney
                                         1285 Avenue of the Americas
                                         New York, NY 10019-6064
                                         (212) 373-3000
                                         btannenbaum@paulweiss.com
                                         gcarney@paulweiss.com

                                         Kenneth A. Gallo
                                         Donna M. Ioffredo
                                         2001 K Street, N.W.
                                         Washington, DC 20006-1047
                                         (202) 223-7300
                                         kgallo@paulweiss.com
                                         dioffredo@paulweiss.com

                                         Attorneys for Defendants Mastercard
                                         Incorporated and Mastercard International
                                         Incorporated




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                                         ARNOLD & PORTER KAYE SCHOLER
                                         LLP

                                         /s/ Matthew A. Eisenstein
                                         Anne P. Davis
                                         Matthew A. Eisenstein
                                         601 Massachusetts Avenue, NW
                                         Washington, DC 20001-3743
                                         (202) 942-5000
                                         anne.davis@arnoldporter.com
                                         matthew.eisenstein@arnoldporter.com

                                         Robert J. Vizas
                                         Three Embarcadero Center, 10th Floor
                                         San Francisco, CA 94111-4024
                                         (415) 471-3100
                                         robert.vizas@arnoldporter.com


                                         HOLWELL SHUSTER & GOLDBERG
                                         LLP
                                          s/ Jayme Jonat
                                         Michael S. Shuster
                                         Demian A. Ordway
                                         Blair E. Kaminsky
                                         Jayme Jonat
                                         425 Lexington Avenue
                                         New York, NY 10017
                                         (646) 837-5151
                                         mshuster@hsgllp.com
                                         dordway@hsgllp.com
                                         bkaminsky@hsgllp.com
                                         jjonat@hsgllp.com

                                         Attorneys for Defendants Visa Inc., Visa
                                         U.S.A. Inc., and Visa International Service
                                         Association




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                                    CERTIFICATE OF SERVICE

            I hereby certify that on July 14, 2023, I caused a true and correct copy of the foregoing to
    be served on all counsel in the above-referenced action via FTP, in accordance with the parties’
    prior agreement.

           Dated: July 14, 2023

                                                         /s/ Gary R. Carney
                                                         Gary R. Carney




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